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                                   STATEMENT OF FACTS

       Your Affiant, Trent Dooley, is a Special Agent assigned to Federal Bureau ofInvestigation
("FBI") Dallas Field Office. In my duties as a special agent, I investigate a variety of federal
crimes. Currently, I am tasked with investigating criminal activity in and around the United States
Capitol grounds on January 6, 2021. As a Special Agent, I am authorized by law or by a
Government agency to engage in or supervise the prevention, detection, investigation, or
prosecution of a violation of Federal criminal laws.

        The United States Capitol is secured 24 hours a day by United States Capitol Police.
Restrictions around the United States Capitol include permanent and temporary security barriers
and posts manned by United States Capitol Police. Only authorized people with appropriate
identification were allowed access inside the United States Capitol. On January 6, 2021, the
exterior plaza of the United States Capitol was also closed to members of the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol
Police attempted to maintain order and keep the crowd from entering the Capitol; however, around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to-and did--evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

        During national news coverage of the aforementioned events, video footage that appeared
to be captured on mobile devices of people present on the scene depicted evidence of violations of
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local and federal law, including many people inside the U.S. Capitol building without authority to
be there.

        At or around 2:51 p.m., a crowd had assembled at the U.S.   Capitol at the stairs to the Upper
West Terrace. Metropolitan Police Department ("MPD") officers       formed a police line at the stairs
to the Upper West Terrace to act as a barrier against the crowd.    While law enforcement officers
were attempting to control the crowd at the stairs to the Upper     West Terrace, numerous people
began charging and striking law enforcement officers.

         After reviewing MPD body-worn camera ("BWC") footage recorded at the United States
Capitol on January 6, 2021, your Affiant observed an unidentified individual, later identified as
Robert Wayne Dennis ("DENNIS"), assaulting law enforcement officers and impeding law
enforcement officers from performing official duties. FBI has positively identified one law
enforcement officer, MPD Officer 1.S., who was assaulted by DENNIS. The law enforcement
officers that DENNIS assaulted were attempting to control the crowd at or near the stairs to the
Upper West Terrace.

         While reviewing BWC footage recorded at or around 2:51 p.m. on January 6, 2021, near
the stairs to the Upper West Terrace, your Affiant observed the following: DENNIS approached
the line of MPD Officers separating the crowd from the United States Capitol (Figure One).
DENNIS was wearing a black jacket, black beanie, dark glasses, tan face covering, blue jeans, and
gloves.

         DENNIS pointed at the officers with both hands and appeared to place his hands on an
officer. Officer D.P. then used a two handed baton technique to push DENNIS away from the line
of officers. DENNIS then grabbed Officer D.P.'s baton and was turned sideways, colliding with
Officer 1.S. Officer J.S. then used a two-handed baton technique to push DENNIS away from the
line. DENNIS then turned back to Officer lS. while keeping hold of a baton and took Officer lS.
to the ground after a violent struggle with him (Figure Three). Officer lS.'s baton was knocked
out of his hands. Officer J.S. recovered his baton, returned to a standing position, and resumed his
position on the line separating the crowd from the United States Capitol while other officers
attempted to control DENNIS.




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                                               Figure One

        Figure Two below is a picture taken from MPD Officer J.S. 's BWC at or around 2:51 p.m.
on January 6, 2021, near the stairs to the Upper West Terrace. In that video, your Affiant observed
DENNIS charging MPD Officer J.S., and DENNIS is shown grabbing another MPD Officer's
baton with both hands. DENNIS then struggles violently with MPD Officer J.S. and takes him to
the ground, which is shown in Figure Three (DENNIS is the man in blue jeans on top of Officer
J.S.).

        Figure Three is a picture taken from MPD Officer C.C.'s BWC at or around 2:51 p.m. on
January 6, 2021, near the stairs to the Upper West Terrace. In the video from that BWC your
Affiant observed DENNIS involved in a physical altercation on the ground with MPD Officer J.S.
Figure Four is a picture taken from MPD Officer J.S.'s BWC at or around 2:51 p.m. on January 6,
2021, and shows a close-up of DENNIS during his violent struggle with Officer J.S.




                    Figure Two                                           Figure Three




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                                             Figure Four

        FBI agents conducted a telephonic interview ofMPD Officer c.c. on or about August 25,
2021. The following is a summary of the interview and is not intended to be a verbatim account.
MPD Officer C.C. was standing on the police line near the stairs to the Upper West Terrace when
he observed DENNIS approach the line and get pushed back. DENNIS approached the line again
and pushed an officer to the ground. The unknown officer is known by your Affiant to be MPD
Officer J.S. MPD Officer C.C. left the line to assist when he observed DENNIS throwing punches
at MPD Officer J.S. while DENNIS was holding onto the officer.

         While reviewing BWC footage recorded on the grounds of the U.S. Capitol (believed to be
at stairs to the South Terrace) at or around 3:13 p.m. on January 6, 2021, your Affiant observed
DENNIS identifying himself by name, address, and Social Security Account Number to an MPD
officer. At or around 3: 12 p.m. in that same video, DENNIS is seen consenting to an MPD officer
retrieving DENNIS' ID from his wallet in his pocket, which the officer used to confirm DENNIS'
identity. After confirming DENNIS' identity, the officer advised him that law enforcement would
apply for a warrant for his arrest at a later time, and then released him so that he could seek medical
treatment that officers were unable to provide due to the ongoing riot. When asked ifhe understood
that law enforcement would apply for a warrant for his arrest, DENNIS replied, "yes."

         Based on the foregoing, your Affiant submits that there is probable cause to believe that
DENNIS violated 18 U.S.C. § 111(a)(1), which makes it a crime to assault, resist, oppose, impede,
intimidate, or interfere with a federal law enforcement officer, as designated in Section 1114 of
Title 18, while engaged in or on account of the performance of official duties. Section 1114
specifically lists United States Capitol Police (USCP) officers as federal law enforcement officers.
This definition under Section 1114 is further extended to any person assisting such a federal officer
or employee in the performance of his or her duties or on account of that assistance. USCP officers
are Federal law enforcement officers, and MPD officers were assisting them in protecting the
Capitol and the Members of Congress on January 6, 2021.

       Your Affiant submits there is also probable cause to believe that DENNIS violated
18 U.S.C. § 231 (a)(3), which makes it unlawful to commit or attempt to commit any act to obstruct,
impede, or interfere with any fireman or law enforcement officer lawfully engaged in the lawful




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performance of his or her official duties incident to and during the commission of a civil disorder
which in any way or degree obstructs, delays, or adversely affects commerce or the movement of
any article or commodity in commerce or the conduct or performance of any federally protected
function. For purposes of Section 231 of Title 18, a federally protected function means any
function, operation, or action carried out, under the laws of the United States, by any department,
agency, or instrumentality of the United States or by an officer or employee thereof. This includes
the Joint Session of Congress where the Senate and House count Electoral College votes.

        Your Affiant further submits that there is probable cause to believe that DENNIS violated
18 U.S.C. § 1752(a)(l), (2), and (4) which makes it a crime to (1) knowingly enter or remain in
any restricted building or grounds without lawful authority to do; (2) knowingly, and with intent
to impede or disrupt the orderly conduct of Government business or official functions, engage in
disorderly or disruptive conduct in, or within such proximity to, any restricted building or grounds
when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct of Government
business or official functions; and (4) knowingly engage in any act of physical violence against
any person or property in any restricted building or grounds; or attempt or conspire to do so. For
purposes of Section 1752 of Title 18, a "restricted building" includes a posted, cordoned off, or
otherwise restricted area of a building or grounds where the President or other person protected by
the Secret Service, including the Vice President, is or will be temporarily visiting; or any building
or grounds so restricted in conjunction with an event designated as a special event of national
significance.

       Finally, your Affiant submits there also is probable cause to believe that DENNIS violated
40 U.S.C. § 5104(e)(2)(F), which makes it a crime to willfully and knowingly engage in an act of
physical violence in the Grounds or any of the Capitol buildings.




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Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone, this 14 day of October, 2021.
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                                                                              2021.10.14 21:29:52
                                                                              -04'00'
                                                       ZIA M. FARUQUI
                                                       U.S. MAGISTRATE JUDGE




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